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                         EXHIBIT 2
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                           In The Matter Of:
                           Fair Fight Action v.
                              Raffensperger




                         Stephen C. Graves, Ph.D.
                            February 25, 2020




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 1        the report at all with Doctor Stewart?
 2   A.   No.
 3   Q.   So is it fair to say that your analysis of
 4        the Fulton County wait times, as you talk
 5        about in your report, was done in some ways
 6        in a vacuum without discussion of any of
 7        the authors of the BPC report?
 8   A.   Yes.
 9   Q.   You've also attached to your report your
10        curriculum vitae.      Is the one we received,
11        looks like the draft date was April 2019,
12        is it still generally accurate?
13   A.   Yes.
14   Q.   Your principal -- you identify your
15        principal field of interest as operations
16        management and applied operations research.
17        What does that mean in layman's terms?
18   A.   Well, I'm primarily interested in the study
19        of operations in terms of design, planning,
20        improvement of operations, and that can be
21        in the context of manufacturing systems,
22        service systems, distribution systems,
23        logistics systems.
24   Q.   Okay.   You don't have any -- you're not

25        opining, though, on anything involving why

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 1                  MR. DuBOSE:       Objection.
 2   A.   I'll try, and let me take an example.
 3   Q.   Sure.
 4   A.   So I have a coin.       I want to know whether
 5        or not the coin is fair or not, and that's
 6        all I care about.       Okay?    So then
 7        statistically, I might flip it 100 times,
 8        and, you know, if I want to have some level
 9        of confidence whether it's fair or not,
10        I'll set up, let's say, sort of rejection
11        limits.   I think I simulated this before
12        but if I want to have sort of five percent
13        confidence level, then I would reject the
14        null hypothesis that it's fair if after I
15        flip it 100 times, I have 60 heads or I
16        have 60 tails so --
17   Q.   Something's wrong?
18   A.   Yeah, something's wrong.         It's either
19        coming up heads too often or tails too
20        often, and that's sort of what we mean by a
21        two-sided test, and it would be appropriate
22        if, again, I have this coin and all I care
23        about is is it a fair coin or not.
24                So an alternative setting is, think

25        about I'm in a casino setting and I want to

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 1        know whether this coin favors the house or
 2        not, and by favoring the house it comes up
 3        heads too often, so then if I was doing
 4        statistical tests there, and if I wanted
 5        this five percent confidence level, if I
 6        flipped it 100 times, then I would reject
 7        the null hypothesis that it's fair if I
 8        came up with 58 heads.
 9   Q.   Because 58 exceeds 50 or 55?
10   A.   Right, but 55 could happen by chance but if
11        it were 58 heads, then I would think the
12        house was up to something and it was fishy,
13        and that's what we mean by a one-sided
14        test.   In some sense the -- well, the
15        question was posed differently.           The first
16        question was is this coin fair or not, and
17        someone says I don't have any other
18        information.    I don't have a leaning or a
19        horse in the game, type thing, whereas this
20        other setting is what I want to know is is
21        this coin favoring the house or not, and if
22        that's the question, then I use this
23        one-sided test.
24   Q.   Okay.

25   A.   And then back to this.       It seems to me that

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 1        what we care about here is, you know, do
 2        African American voters wait longer or not.
 3        At polling locations with predominantly
 4        African American voters, are they waiting
 5        longer than other polling locations, and if
 6        that's really what we care about, then in
 7        terms of statistical tests, we should use
 8        this one-sided test, and so that's the
 9        nature of my objection, whereas in the
10        Trende expert report, everything he did was
11        accurate but he was relying on a two-sided
12        test.
13   Q.   I see.    Okay.     So the two-sided test, going
14        back to your coin analysis, is you just
15        flip it up 100 times and you make a
16        determination if it's -- you're not looking
17        to see if it favors one side or the other,
18        just is it fair?
19   A.   Right, and say that could be biased one way
20        or other way and both those ways mean it's
21        unfair.
22   Q.   So your analysis then is that, forgive me,
23        your analysis is the two-sided test, which
24        is are African Americans waiting longer at

25        polling locations than whites in Fulton

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 1        County, is that accurate?
 2   A.   No, my analysis is what I would call a
 3        one-sided test.
 4   Q.   Okay.   Thank you.      Your analysis looks to,
 5        rather than me explain it, you tell me how
 6        your analysis is the one-sided test.
 7   A.   In statistics we have two hypothesis and
 8        we're trying to usually reject, see about
 9        rejecting the null hypothesis, and here the
10        null hypothesis would be that there's not a
11        positive relationship between wait time and
12        the percent of African American voters at a
13        polling location, and we're going to test
14        that vis a vis an alternative hypothesis
15        where the alternative hypothesis is there
16        is a positive relationship between wait
17        time and the percent of African American
18        voters, so that's what I'm testing.
19   Q.   Alright.   Okay.
20   A.   Whereas, I would say, do you want me to go
21        on?
22   Q.   Yes, whereas Trende --
23   A.   Trende's null hypothesis is that there's no
24        relationship between wait time and the

25        percent of African American voters, that's

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 1        his null hypothesis, and then his
 2        alternative hypothesis against which he's
 3        testing is that there is a relationship and
 4        it could be either positive or negative.
 5   Q.   And as I think I heard you say and I read
 6        in the report, in terms of the math, you
 7        don't have any criticism of Trende's
 8        report, it's just how he's analyzing the
 9        topic, is that a fair way to put it?
10   A.   Yes.    I'm not sure I would say how he's
11        analyzing but how he set up the analysis,
12        how he's framed the question.
13   Q.   Okay.   You then, and this may go into that
14        same line of questions we just had, but on
15        Page 3 of your report, the substance is
16        Page 4 of the document, in the third full
17        paragraph starting with "thus."            Midway
18        through it says "This is a less stringent
19        test but is more relevant for the given
20        question at hand."
21   A.   Yes.
22   Q.   That means your test is a less stringent
23        test?
24   A.   Yes.

25   Q.   What makes it less stringent than Trende's?

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